          Case 4:21-cv-00588-JM Document 11 Filed 09/23/21 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

TASHAUN DEWYANE YANCY                                                                  PLAINTIFF
#118318

v.                                    4:21-cv-00588-JM-JJV

COBBS, Doctor,
Infirmary Supervisor, Pulaski County Jail; et al.                                  DEFENDANTS

                   PROPOSED FINDINGS AND RECOMMENDATIONS

                                        INSTRUCTIONS

       The following recommended disposition has been sent to United States District Judge

James M. Moody Jr. Any party may serve and file written objections to this recommendation.

Objections should be specific and include the factual or legal basis for the objection.       If the

objection is to a factual finding, specifically identify that finding and the evidence that supports

your objection.   Your objections must be received in the office of the United States District Court

Clerk no later than fourteen (14) days from the date of this recommendation. Failure to file timely

objections may result in a waiver of the right to appeal questions of fact. Mail your objections to:

                                Clerk, United States District Court
                                   Eastern District of Arkansas
                              600 West Capitol Avenue, Suite A149
                                   Little Rock, AR 72201-3325

                                         DISPOSITION

       Tashaun Dewyane Yancy (“Plaintiff”) was confined in the Pulaski County Detention

Facility (“PCDF”) when he filed this pro se action pursuant to 42 U.S.C. § 1983. Soon thereafter,

I granted him permission to proceed in forma pauperis, explained his obligation under Local Rule

5.5(c)(2) to maintain a valid address with the Clerk of Court, and advised him this case could be


                                                    1
            Case 4:21-cv-00588-JM Document 11 Filed 09/23/21 Page 2 of 2




dismissed without prejudice if he failed to do so. (Doc. 3.) Since that time, mail sent to Plaintiff

at the PCDF has been returned undelivered because he is no longer there, and he has not provided

an updated address to the Clerk. (Docs. 6, 9, 10.) On August 20, 2021, I ordered Plaintiff to file

an updated address and a new in forma pauperis application regarding his financial status since

his release from custody. (Doc. 7.) And, I reminded him this case would be dismissed if he

failed to comply with my instructions. (Id.)

       Plaintiff has not complied with my instructions, and the time to do so has expired.

Because the Clerk does not have a valid address for Plaintiff, it would be futile to grant him an

extension of time to comply with my Order. Accordingly, I recommend this case be dismissed

without prejudice due to a lack of prosecution. See Fed. R. Civ. P. 41(b); Local Rule 5.5(c)(2).

       IT IS, THEREFORE, RECOMMENDED that:

       1.      The Complaint (Doc. 2) be DISMISSED without prejudice due to a lack of

prosecution, and this case be CLOSED.

       2.      The Court certify, pursuant to 28 U.S.C. § 1915(a)(3), that an in forma pauperis

appeal from an Order adopting these recommendations and the accompanying Judgment would be

taken in good faith.

       DATED this 23rd day of September 2021.



                                                ______________________________________
                                                JOE J. VOLPE
                                                UNITED STATES MAGISTRATE JUDGE




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